






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN






NO. 03-08-00210-CV






Donald Ray McCray, Appellant


v.


Harris County, The Honorable Sharon McCally, Karen Mahone, Cynthia Wood,
Becky&nbsp;Tibbs and Christina Melton Crain, Appellees






FROM THE DISTRICT COURT OF TRAVIS COUNTY, 200TH JUDICIAL DISTRICT

NO. D-1-GN-07-001984, HONORABLE JOHN K. DIETZ, JUDGE PRESIDING





M E M O R A N D U M   O P I N I O N


		Donald Ray McCray appeals a final judgment that was signed on October 16, 2007. 
Notice of appeal was due 30 days from the date of the decree.  See Tex. R. App. P. 26.1.  Notice of
appeal in this case was due by November 15, 2007, and not filed until April 4, 2008.  Because
McCray's notice of appeal was not timely filed, this Court does not have jurisdiction over the appeal. 
		McCray contends that he received late notice of the trial court's judgment.  Late
notice of judgment may be used to extend appellate filing deadlines, but in no event may the time
period for perfecting an appeal begin to run more than 90 days after the final judgment was signed. 
Tex. R. App. P. 4.2.  Because the notice of appeal was not timely filed, this appeal is dismissed for
want of jurisdiction.


__________________________________________						Diane M. Henson, Justice

Before Justices Patterson, Waldrop and Henson

Dismissed for Want of Jurisdiction

Filed:   February 18, 2009



						


